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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

IN RE: Criminal Cases

     This matter is before the Court upon the Court's own motion:

     IT IS HEREBY ORDERED that government's exhibits in the case listed below
are to be returned to the United States Attorney for appropriate disposition.


     CASE NUMBER            CAPTION                              HEARING DATE

     CR88-0-33       USA v. John McCabe                          01/14/94
     4:93cr3035      USA v. Eric Moore and                       03/31/93
       (93-7M)              Craig Robinson
     4:97cr3033      USA v. Juan Esparza-Ramirez            03/25/02
     4:98cr3005      USA v. Alberto T. Sanchez              02/03/98
     4:00cr16        USA v. Arnoldo Bojorquez-Zazueta       08/03/01
     4:00cr94        USA v. Barbara Vopnford                08/12/03
     4:00cr153       USA v. Bruce Miller                    10/03/01
     4:00cr281       USA v. Donald Lupino                   06/21/01
     4:00cr3003      USA v. Andrew Straughn                 07/06/05
     4:00cr3014      USA v. John Fellers                    04/20/00; 1/8 thru
                                                            1/11/01; 04/13/01
     4:00cr3035      USA v.     Jose Espino                 12/11/01
     4:00cr3052      USA v.     Valentin Gomez              11/08/00
     4:00cr3070      USA v.     Cordell Sims                1/8 thru 1/19/01;
                                                            06/15/01
     4:00cr3076      USA v.     Michael Shirley             05/31/01
     4:00cr3079      USA v.     Ruben Cantalan-Castarena & 12/05/00 and
                                Sergio Infante-Orozio       6/4 thru 6/8/01
     4:00cr3083      USA   v.   James Ross                  01/11/01
     4:00cr3085      USA   v.   Tarra Arcos                 11/27/00
     4:00cr3091      USA   v.   Gregory Syslo & Denell Syslo 3/05/01
     4:00cr3097      USA   v.   Jansen Yarbrough            04/25/03


     DATED this 8th day of February, 2006.



                                        BY THE COURT

                                        s/ RICHARD G. KOPF
                                        United States District Judge
